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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              HUNTINGTON DIVISION

RICHARD EDWARDS, JR.,

               PLAINTIFF,

V.

                                               CIVIL ACTION NO.: 3:16-cv-01879
                                               Judge Robert C. Chambers

McELLIOTTS TRUCKING, LLC;
DANNY McGOWAN, individually and as
an employee of McElliotts Tucking, LLC and/or
as agent of Cardinal Transport;
CARDINAL TRANSPORT, INC.;
HAROLD MIDKIFF, individually and/or as agent driver of
McElliotts Trucking, LLC and/or as agent driver of
Cardinal Transport, Inc.,


                   PLAINTIFF’S RESPONSE IN OPPOSITION
         TO CARDINAL TRANSPORT, INC.’S MOTION TO STAY JUDGMENT

        Now comes the Plaintiff, Richard Edwards, Jr., by counsel, and files this Response in

Opposition to Cardinal Transport, Inc.’s Motion to Stay Judgment and states that Cardinal’s

Motion for Stay should be denied for three (3) reasons: (1) Cardinal’s Motion for Stay fails to

address the four (4) factors outlined in Hilton v. Braunskill, 481 U.S. 770, 107 S.Ct. 2113, 95

L.Ed.2d 724 (1987) which are considered with respect to staying a case pending appeal; (2)

Cardinal’s proposed supersedeas bond is insufficient; and (3) Cardinal failed to preserve and

therefore waived its right to file a Rules 50 and 59 post-trial motions because Cardinal did not raise

a pre-verdict Motion for Judgment as a Matter of Law attacking the negligence or vicarious

liability claims submitted to the jury.
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   I.       Cardinal’s Motion for Stay Fails to Address the Hilton Factors.

         “The factors generally considered with respect to a stay pending appeal are: “(1) whether

the stay applicant has made a strong showing that he is likely to succeed on the merits; (2) whether

the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will

substantially injure the other parties interested in the proceeding; and (4) where the public interests

lies.” Daugherty v. Ocwen Loan Servicing, LLC, 220 F.Supp.3d 728, 731 (S.D. W.Va., 2016)

citing Hilton v. Braunskill, 481 U.S. 770, 776, 107 S.Ct. 2113, 95 L.Ed. 724 (1987).

         Cardinal’s Motion for Stay fails to address any one of the above-listed factors. This was

the exact scenario in the Daugherty case. In Daugherty the jury returned a verdict in favor of the

Plaintiff. Id. at 729-30. The Defendant filed a Motion to Stay Execution of Judgment pursuant to

Rule 62(d) of the Federal Rules of Civil Procedure as Cardinal has done in this case. In denying

the Defendant’s Motion, the Court, in part, referenced the Defendant’s failure to “establish that

any of the Hilton factors [] fall in its favor.” Id. 731. As stated above, not only has Cardinal failed

to establish any one of the Hilton factors, it did not address them at all. For this reason, Cardinal’s

Motion should be Denied.

   II.      Cardinal’s Supersedeas Bond is Insufficient.

         Rule 62(d) provides: “If an appeal is taken, the appellant may obtain a stay by supersedeas

bond.... The bond may be given upon or after filing the notice of appeal or after obtaining the order

allowing the appeal. The stay takes effect when the court approves the bond.” Fed. R. Civ. P. 62(d);

see also Alexander v. Chesapeake, Potomac & tidewater Books, Inc., 190 F.R.D. 190, (E.D. Va.

1999) (“Rule 62(d), by its terms, says no more than that an appellant may obtain a stay as a matter

of right by posting such a bond.”). As things currently stand, Cardinal’s supersedeas bond in

insufficient to provide a stay as a matter of right. First, although Cardinal has filed a document
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called “Appeal Bond” (ECF 246-1), Cardinal has not deposited a check into the clerk’s office as

required. Second, the amount proposed by the “Appeal Bond” of $5,456,634.25 is insufficient to

protect the Plaintiff.

        As to the first issue, Cardinal has not delivered a check to the Court’s Clerk in any amount

of money to protect the Plaintiff. “To be entitled to a stay pending appeal, the Defendant must post

an appropriate supersedeas bond with the Court by filing the appropriate documents and delivering

a check to the Clerk’s office for the full amount of the award, including the cost of attorney’s

fees awarded to the Plaintiff, to be accepted by the Clerk on the Court’s authorization and placed

in an interest-bearing account. Daughetry, supra at 730. (Emphasis added). Without proper

posting of a check with the Clerk, the Plaintiff is in no way protected during any subsequent stay.

Just like in Daughetry, the Plaintiff would be relying on the representations of payment, which

does not preserve the status quo.

        As to the second issue, Cardinal’s proposed $5,456,634.25 is likewise insufficient to

protect the Plaintiff’s recovery. The verdict alone was for $5,415,811.94. (ECF 240). This amount

does not factor in the Plaintiff’s prejudgment interest of $244,256.63 (ECF 245), Plaintiff’s Bill of

Cost $6,066.26 (ECF 244) or Plaintiff’s post-interest judgment award 28 U.S.C. §1961 and

subsequent appeal cost. Although the Court has discretion to lower the bond or accept a lower

bond, requiring the full amount of the bond is more appropriate. “Because the stay operates for the

appellant’s benefit and deprives the appellee of the immediate benefits of his judgment, a full

supersedeas bond should be the requirement in normal circumstances, such as where there is some

reasonable likelihood of the judgment debtor’s inability or unwillingness to satisfy the judgment

in full upon ultimate disposition of the case and where posting adequate security is practicable.

Booksellers Ass’n v. McMaster, 233 F.R.D. 456, 459, (D.S.C. 2006) quoting Fed. Prescription
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serv., Inc. v. Am. Pharmaceutical Assoc., 636 F.2d 755, 760-1 (D.C. Cir. 1980). The insufficiency

of the proposed bond is reason alone to deny the stay.

          Further, Plaintiff’s counsel asks the Court, should it ultimately approve a bond amount, to

require the Defendant post the amount in cash. Cardinal’s position towards this case has been one

of ultimate refusal to resolve this matter from the get go. Based on information and belief, Cardinal

and its insurer are at odds as to who is ultimately responsible for paying the judgment which will

likely be the topic of further litigation, and which ultimately makes payment to the plaintiff far

less likely if full bond is not required. This problem is compounded by Cardinal’s continued

position that the McElliotts Defendants must pay indemnity. Undersigned counsel has been

assured throughout this litigation by Cardinal and its representatives that any verdict would be

appealed regardless of the merits and that Plaintiff would have to wait out his verdict. The only

way to ensure Plaintiff’s protection of the judgment given to him by the jury is to require Cardinal

to deposit a full and adequate bond in cash.

   III.      Cardinal’s Waived its Right to File a Rule 50 Post-Trial Motion.

          Cardinal ask the Court to issue a stay so that it can file post-trial motions pursuant to Rule

50 and 59 of the Federal Rules of Procedure. As far as a motion pursuant to Rule 50, Cardinal has

waived its right to ask for the Court to issue judgment as a matter of law. Therefore, no stay is

necessary to wait out a Rule 50 motion.

          “Under Rule 50, a party must make a Rule 50(a) motion for judgment as a matter of law

before a case is submitted to the jury.” EEOC v. Go Daddy Software, Inc., 581 F.3d 951, 961 (9th

Cir. 2009). “Failure to file a Rule 50(a) motion precludes consideration of Rule 50(b) motion for

judgment as a matter of law.” Tortu v. Las Vegas Metro. Police Dep’t, 556 F.3d 1075, 1083 (9th

Cir. 2009). As explicitly stated in the Rule, a Rule 50(b) motion may be considered only if a Rule
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50(a) motion for judgment as a matter of law has been previously made. Further, the advisory

committee notes to Rule 50 explicitly emphasized this requirement in the 1963 amendments: "A

motion for judgment notwithstanding the verdict will not lie unless it was preceded by a motion

for a directed verdict made at the close of all the evidence." Fed.R.Civ.P. 50 advisory committee's

note on 1963 amendments (emphasis added). Later, the notes to the 1991 amendments reiterated

this requirement. "This provision retains the concept of the former rule that the post-verdict motion

is a renewal of an earlier motion made at the close of the evidence.... A post-trial motion for

judgment can be granted only on grounds advanced in the pre-verdict motion." Fed.R.Civ.P.

50 advisory committee's note on 1991 amendments. (emphasis added). The Rule itself, as well as

these amendments, explicitly require a previous motion to be made before submission to the jury.”

Id.

         The standard is no different in the Fourth Circuit. In Ihnken v. Jenkins (4th Cir. 2017) the

Plaintiff Ihnken moved pursuant to Rule 50(b) for a judgment as a matter of law after the jury had

reached its verdict which was denied by the district court. Id. at pg. 7. Upon appeal to the Fourth

Circuit, Ihnken argued the District Court erred in denying his motion for judgment as a matter of

law. Id. at 8. In response, the Fourth Circuit Court of Appeals stated that Ihnken’s “failure to move

for directed verdict pursuant to Federal Rule 50(a) before the court submitted the case to the jury

fatally undermines his argument.” Id. at 10. As a result, the Appeals Court was “substantially

foreclosed from reviewing the sufficiency of the evidence.” Id. at 10 citing (Bristol Steel & Iron

Works v. Bethlehem Steel Corp., 41 F.3d 182, 186 (4th Cir. 1994).

         It is clear that Cardinal waived its right to assert a Rule 50(b) motion post-verdict where it

did not address the claims that went to the jury, negligence and vicarious liability, pre-verdict. The

only pre-verdict motions addressed at the close of plaintiff’s evidence by Cardinal were concerning
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1) punitive damages; 2) plaintiff’s claim for negligent entrustment, and 3) plaintiff’s claims for

negligent retention, supervision and training. All of these Motions were granted by the Court

immediately after argument. After granting Cardinal’s Motions, the Court appropriately identified

the only remaining issue before it was the issue of vicarious liability. The Court stated as follows:

         “The only issue remaining for the jury would be the extent to which, if at all,
         Cardinal would be vicariously liable for the conduct of McGowan slash McElliotts.
         But that is truly based upon vicarious liability, not based upon negligent conduct
         on the part of Cardinal. So I grant the motion. To the extent there are negligence
         claims remaining against Cardinal, they’re all dismissed. To the extent there’s a
         punitive damage claim against Cardinal, it’s dismissed.” (ECF 252 TT Vol. 3, pg.
         528.)


After highlighting the fact the only issue remaining was one of vicarious liability, the Court then

asked Cardinal if there was anything else it need to take up - Cardinal’s counsel answered, “No,

Your Honor. Thank you.” Id. Therefore, it is definitive that Cardinal did not make any motion that

could be construed as a Rule 50(a) Motion for Judgment Notwithstanding the Verdict concerning

any aspect of vicarious liability, thus it cannot not make a Rule 50(b) Motion now. As stated above,

“a 50(b) motion may only be made as a renewal of a motion previously made on the same grounds

under Rule 50(a).” Nichols v. Ashland Hosp. Corp., 251 F.3d 496, 501 n1. (4th Cir. 2001).

         In sum, Cardinal needs no Stay to file Rule 50 Motion because it already waived its right

to do so.

   IV.      Cardinal’s Rule 59 Motion for New Trial is Also Waived.

         A Rule 50 Motion for Judgment Notwithstanding the Verdict is substantially intertwined

with a Rule 59 Motion for New Trial. Rule 50(b) states:

                 50(b) RENEWING THE MOTION AFTER TRIAL; ALTERNATIVE
         MOTION FOR NEW TRIAL: If the court does not grant a motion for judgment as
         a matter of law made under Rule 50(a), the court is considered to have submitted
         the action to the jury subject to the court’s later deciding the legal questions raised
         by the motion. No later than 28 days after the entry of judgment – or if the motion
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       addresses a jury issue not decided by a verdict, no later than 28 days after the jury
       was discharged – the movant may file a renewed motion for judgment as a matter
       of law and may include an alternative or joint request for a new trial under Rule 59.

Cardinal’s failure to raise a Rule 50(a) Motion likewise precludes it from asking for a New Trial

pursuant to Rule 59 challenging the evidence. Admittedly, Cardinal is not likely precluded from

filing a Rule 59 motion on newly discovered evidence or some other after the verdict cause, but

anything challenging the evidence is waived.

       This was the exact issue before the Court in Nichols v. Ashland Hosp. Corp., 251 F.3d 496

(4th Cir. 2001) as well as the Ihnken case cited above. In Nichols the Defendant failed to move the

Court for a Rule 50(a) pre-verdict motion for judgment as a matter of law challenging the evidence.

Id. at 501. Nevertheless, the Defendant moved for a Rule 59 motion for new trial challenging jury’s

verdict as being against the clear weight of the evidence. Id. at 501. The Court stated a “motion

for new trial does not create the avenue for searching review that its failure to move for judgment

as a matter of law foreclosed . . . . Were it otherwise, a party could open the door to review via

Rule 59, even though its prior failure closed the same door via Rule 50. In reviewing the evidence

through the medium of a motion for new trial after failure to move for judgment as a matter of law

we do not review “sufficiency” in its technical sense. What is at issue is whether there was an

absolute absence to support the jury’s verdict.” Id. at 502. As discussed above, this was also the

result in the Ihnken case. For his third ground of appeal, Ihnken challenged the district court’s

denial of his alternative Motion for New Trial. The Appeals Court similarly concluded that

Ihnken’s failure to move for a Rule 50(a) Motion deemed his post-trial Motion for a New Trial

“effectively a nullity, since a Rule 50(b) motion may only be made as a renewal of a motion

previously made on the same grounds under Rule 50(a).” Nichols v. Ashland Corp., 251 F.3d 496,

501 n.1 (4th Cir. 2001).
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       Based on clearly established Fourth Circuit law on the issue, Cardinal’s reliance on Rule

59 to support its stay of execution is insufficient to overcome the Plaintiff’s need to execute on the

judgement. Thus, Defendant’s request for Stay should be denied.


       WHEREFORE, the Plaintiff respectfully request that this Court enter an order denying

Cardinal’s Motion for Stay and for such other relief as is necessary.



                                                      RICHARD EDWARDS, JR.

                                                      BY COUNSEL

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                       IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA

                                    HUNTINGTON DIVISION

RICHARD EDWARDS, JR.,

                       Plaintiff,

   v.                                                     Civil Action No. 3:16-1879


MCELLIOTTS TRUCKING, LLC;
DANNY MCGOWAN, individually and as
an employee of McElliotts Trucking, LLC and/or
as agent of Cardinal Transport;
CARDINAL TRANSPORT, INC;

                       Defendants.

                                       CERTIFICATE OF SERVICE

       I, Connor D. Robertson, certify that I electronically filed Plaintiff’s Response in Opposition
to Cardinal Transport, Inc.’s Motion for Stay Judgment with the court using CM/ECF system
which will send notification to counsel of record:

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